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 9                         IN THE UNITED STATES DISTRICT COURT
10                               FOR THE DISTRICT OF ARIZONA
11   United States of America,                               CR-20-00634-PHX-DWL
12                         Plaintiff,
                                                               MOTION TO SEAL
13            v.                                                 ADDENDUM
14   Jill Marie Jones,                                           (Filed Under Seal)
15                         Defendant.
16          The United States of America, by and through its undersigned attorneys, move the
17   Court for an Order sealing the Addendum to the Government’s Reply to Defendant’s
18   Response to Motion for Protective Order pursuant to Fed. R. Crim. P. 16 (Doc. 23).
19          The government’s respectfully requests that Addendum A be sealed, because the
20   addendum describes the FBI’s Online Covert Employee (OCE) program. Additionally, it
21   illustrates the types of harm relating to investigative techniques, strategies and personal
22   risk to the OCEs that could occur.      Accordingly, the government requests that the
23   addendum be sealed.
24         Respectfully submitted this 10th of December, 2020.
25                                                   MICHAEL BAILEY
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26                                                   District of Arizona
27                                                   s/ David A. Pimsner
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